
Motion for assignment of counsel granted and Kevin M. Doyle, Capital Defender, 915 Broadway, 7th Floor, New York, New York 10010 assigned as counsel to the appellant on the appeal herein. March 27, 2000 is set as the date for the Clerk of County Court, Onondaga County, to furnish assigned counsel, without charge, one certified copy of the complete record of proceedings pursuant to section 510.10 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [c]). May 26, 2000 is set as the date for settlement by stipulation of the record of the capital proceedings or the filing of a motion to settle in Onondaga County Court pursuant to section 510.10 (e) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [e]). August 24, 2000 is set as the date for filing in this Court the required number of copies of a stipulated settled record on appeal, with proof of service, pursuant to sec*896tion 510.11 of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.11). If a motion to settle the record has been made in Onondaga County Court pursuant to section 510.10 (e) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.10 [e]), the required number of copies of the settled record on appeal must be filed, with proof of service, within 90 days after the date of the order settling the record.
